Exhibit C

Letter from Ms. Garrett

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SANDY L. GARRETT
CHIEF DISCIPLINARY COUNSEL

BOARD OF PROFESSIONAL RESPONSIBILITY

of the

SUPREME COURT OF TENNESSEE

10 CADILLAC Drive, SuITE 220
BRENTWOOD, TENNESSEE 37027
{615) 361-7500

STEVEN J. CHRISTOPHER {800) 486-5774
DEPUTY CHIEF DISCIPLINARY COUNSEL, INVESTIGATIONS FAX: (645) 367-2480 KEVIN D. BALKWILL
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JAMES W. MILAM
BEVERLY P. SHARPE
DIRECTOR OF CONSUMER ASSISTANCE BE ER ATALTER SMITH
March 1, 2021

CONFIDENTIAL

Gerald D. Morgan, Esquire
402.1 Fremantle Cir
Spring Hill, TN 37174-8537

When Responding Please Use:
Re: File No. 66879-6-77,

Dear Mr. Morgan:

Enclosed is a complete copy of the information received by the Board of Professional
Responsibility concerning your conduct. It is necessary that you submit a clear and concise statement
within ten days of your receipt of this letter concerning your acts surrounding the above matter. Because
the matter was brought to the Board’s attention while you were employed as Disciplinary Counsel, this
matter is proceeding pursuant to Tenn. Sup. Ct. R. 9 section 16.1(c). Chair Floyd Flippin has appointed
attorney Board member Jimmie Miller to conduct this investigation. If you need additional time to respond,
please contact Jimmie Miiler.

Your failure to timely respond to this complaint of misconduct will result in the filing of a

Notice of Petition for Temporary Suspension, pursuant to Section 12.3 of Tennessee Supreme Court
Rule 9.

Your cooperation will enable a proper disposition to be made of this matter in a manner consistent
with the rights of the public and the protection of attorneys from unfounded complaints. Please note that

Tennessee Supreme Court Rule 9, Section 32, addresses the extent of confidentiality applicable to this
matter.

Sincerely,

Sandy Garrett
Chief Disciplinary Counsel
LES
ce: Jimmie Miller, Esquire
P.O. Box 3740
Kingsport, TN 37664

Enclosure

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